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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

   In re: EILEEN CERA                                           Chapter 13


   Debtor                                                        Bankruptcy No. 18-17724-ELF

                                          * * * * * * * * *

            NOTICE OF MOTION, RESPONSE, DEADLINE AND HEARING DATE

           William C. Miller, chapter 13 standing trustee, has filed a Trustee’s Motion to Dismiss with the
   court for the purpose of dismissing this Chapter 13 bankruptcy case for the reason(s) stated in the
   enclosed motion.


1. Your rights may be affected. You should read these papers carefully and discuss them with your
   attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to
   consult an attorney.)


2. If you do not want the Court to grant the relief sought in the Motion, or if you want the Court to
   consider your views on the Motion, then on or before 10/16/2019, you or your attorney must file a
   response to the Motion. (see Instructions on next page).


3. A hearing on the Motion is scheduled to be held on 11/12/2019 10:00:00 AM in Courtroom #1 at U.S.
   Bankruptcy Court, Philadelphia 900 Market St. Unless the court orders otherwise, the hearing on this
   contested matter will be an evidentiary hearing.


4. If you do not file a response to the Motion, the court may cancel the hearing and enter an order granting
   the relief requested in the Motion.


5. You may contact the Bankruptcy Clerk’s office at 215-408-2800 to find out whether the hearing has been
   canceled because no one filed a response.


6. If a copy of the motion is not enclosed, a copy of the Motion will be provided to you if you request a copy
   from the attorney whose name and address is listed on the next page of this Notice.
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                                             Filing Instructions


   7. If you are required to file documents electronically by Local Bankruptcy Rule 5005-1, you must file
      your response electronically.
   8. If you are not required to file electronically, you must file your response at


                                            U.S. Bankruptcy Court
                                          900 Market St., Suite 400
                                           Philadelphia, PA 19107


   9. If you mail your response to the bankruptcy clerk’s office for filing, you must mail it early enough to
      that it will be received on or before the date stated in Paragraph 2 on the previous page of this Notice.

   10. On the same day that you file or mail your Response to the Motion, you must mail or deliver a copy of the
       Response to the movant’s attorney:

                                             William C. Miller, Esquire
                                                   P.O. Box 1229
                                              Philadelphia, PA 19105
                                             Telephone: (215) 627-1377
                                             Facsimile: (215) 627-6299
                                            Email: ELF@ph13trustee.com



Date: 10/1/2019
